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GOVERNMENT’S EXHIBIT LIST

 

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CASE: UNITED STATES v. LAZARO LOPEZ
No.: 96~0379~Cr-HIGHSMITH Assistant United States Attorney:
EDWARD L. ALLEN
ADDITIONAL
WITNESS
WITNESS REFERRING
GXNO DESCRIPTION DATE | IDENTIFYING | OFFERED | ADMITTED | DENIED | TO
1 10 KILOGRAMS COCAINE JOSEPH ORLANDO
ee JERZORSKI 7-/ of Lb QUINTANA
+
1A | GYM BAG FOR COCAINE JOSEPH
JERZORSKI lL
2 TAPE #1 DATED APRIL 12, ROBERT
1996 (LOPEZ & SALADRIGAS
SALADRIGAS )
2A | TRANSCRIPT (TAPE 1) ROBERT
SALADRIGAS
3 TAPE #2 DATED APRIL 12, ROBERT
1996 (LOPEZ & SALADRIGAS
SALADRIGAS )
3A | TRANSCRIPT (TAPE 2) ROBERT
SALADRIGAS
4 TAPE #3 DATED APRIL 12, ORLANDO 7] ny 4 JOSEPH
1996 (LOPEZ & QUINTANA) QUINTANA -/ It JEZORSKI
4A | TRANSCRIPT OF TAPE 3 ORLANDO ee i JOSEPH
QUINTANA JEZORSKI
ev
5A&3 | $70,000 TAKEN FROM JOSEPH ?. 4 g, a ORLANDO
DEFENDANT JEZORSKI /7- QUINTANA

 

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CASE: UNITED STATES v. LAZARO LOPEZ
No.: 96-0379-Cr-HIGHSMITH Assistant United States Attorney:
EDWARD L. ALLEN
ADDITIONAL
WITNESS
WITNESS REFERRING
GXNO DESCRIPTION DATE | IDENTIFYING | OFFERED | ADMITTED | DENIED | TO
5C BOX WHICH CONTAINED JOSEPH yy.
$70,000 JERZORSKI 7 1)-%6 UL
6 MOTOROLA USA BEEPER JOSEPH Ll
by! JERZORSKI
7 MOTOROLA CELLULAR PHONE JOSEPH L—
NO. 67UGTVUX71 JERZORSKI
7A SUBSCRIBER INFO RE: JOSEPH
CELL PHONE 67UGTVUX71 JERZORSKI
8 MOTOROLA CELLULAR PHONE JOSEPH Lg
NO. 935GTN4325 JERZORSKI Ly
8A SUBSCRIBER INFO RE: JOSEPH
CELLULAR PHONE JERZORSKI
935GTN4325
9 &) SMALL QUANTITY OF NESTOR oS JOSEPH
p) | COCAINE FROM DUARTE JERZORSKI
(>) | DEFENDANT’ § CAR
Cc a
10A-D | PERSONAL PAGERS, CREDIT NESTOR ~ a JOSEPH
& | CARDS; CALLING CARD DUARTE ]-12- ea JERZORSKI
11 DRUG LEDGERS REF: NESTOR JOSEPH
DEFENDANT LOPEZ DUARTE JERZORSKI

 

 

 

 

 

 

 

 

 
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CASE: UNITED STATES v. LAZARO LOPEZ
No.: 96-0379-Cr-HIGHSMITH Assistant United States Attorney:
EDWARD L. ALLEN
ADDITIONAL
WITNESS
WITNESS REFERRING
GXNO DESCRIPTION DATE IDENTIFYING | OFFERED | ADMITTED | DENIED | TO
12A~-B PHOTOGRAPHS OF DRUGS JOSEPH a
AND CONTAINERS JERZORSKI
12C PHOTOGRAPH OF TELEPHONE JOSEPH
BOOK/ITEMS SEIZED JERZORSKI
12D $300 FROM DEFENDANT’ S JOSEPH
l PERSON JERZORSKI a
13 Plea ( gperomen Ye Yop Saladerges ofa/ol be
C1 cr @ Lop
L If ue MAN AY 1 Ve)
~ i 7T Va mn .
S Udder 4 1 te fs. a (“er ote REG
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‘S Ct

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